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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF PUERTO RICO

Case Number: 24-4 OG ( RAM )

Petitioner:

MARIA LYDIA NIEVES, (Eng Legis)

Authorized Agent and Trustee of MARIA LYDIA NIEVES (MARIA FLORES)
Surveyed:

SAM. gov, the Office of Foreign Assets Control (OFAC), the Department of the Treasury,
the Department of Health and Human Services (HHS), Americas Leading Finance, LLC,
and any other relevant agency or person involved in the misclassification of the corporation.

Date: 10/03/2024

Subject:
Petition for Unconditional Order for Immediate Removal from Foreign Asset Classification,

Application of Complete Immunity, and Restoration of Proper Status of the Entity

AUTHORITY AND STANDING OF THE PETITIONER

Fiduciary Authority Statement and Legal Name Separation
The petitioner, MARIA LYDIA NIEVES (Eng Legis), in her capacity as authorized agent

MP

and trustee of the MARIA LYDIA NIEVES (MARIA FLORES) corporation, asserts a

clear separation between the petitioner's living status and the legal name, which has been
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illegally classified as a foreign asset. This separation establishes the petitioner as the
legitimate holder and bearer of the instrument, by virtue of UCC 3-301 and 3-207.
3. Establishment of the status of owner and right to repurchase
As the holder of the instrument under UCC 3-301, the Petitioner retains the exclusive right to
enforce, negotiate, reacquire, or discharge the instrument. The Petitioner's authority to cancel any
unlawful endorsement or classification made against the instrument is vested under UCC 3-207,

retroactively restoring the proper status of the corporation.
4. Affirmation of full immunity and protection

The legal entity, MARIA LYDIA NIEVES (MARIA FLORES), shall have total and
unconditional immunity from any other form of supervision, restriction, classification, or
administrative charge by any agency or entity. Any attempt to impose further classifications,
endorsements, or restrictions will be considered a violation of this mandate and will result in
immediate sanctions against the offending party, as it constitutes a violation of the entity's
immunity and the trustee's rights. This immunity shall be asserted without prejudice to the

Petitioner's role as trustee and rightful holder of the instrument.
5. Debtor's Location and Jurisdiction

The incorrect classification of MARIA LYDIA NIEVES (MARIA FLORES) as a foreign asset
contradicts UCC 9-307, as the proper location of the debtor is within the jurisdiction of Puerto
Rico, a territory of the United States. The petitioner's domicile establishes jurisdiction, making

any classification under a foreign jurisdiction a direct violation of UCC rules and federal statutes.
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CHRONOLOGY OF EVENTS LEADING TO THE MISCLASSIFICATION

May 20, 2007 — Initial entry into SAM.gov system:

The legal entity MARIA LYDIA NIEVES (Eng Legis) was first entered into the SAM.gov
system on May 20, 2007, during the petitioner's enlistment process in the U.S. Army. This entry
occurred months before the Petitioner's official start of active duty on October 26, 2007. The
registration was made without the Petitioner's knowledge, consent, or authority, which

constitutes an illegal and unauthorized endorsement.
October 26, 2007—Petitioner's active duty begins:

The petitioner officially began active duty with the U.S. Army on October 26, 2007. During this
period, the legal entity was already classified in the SAM.gov system, subjecting the petitioner to
unauthorized monitoring and classification by various federal agencies without justification or

legal basis.
July 24, 2012 — Honorable Discharge from the U.S. Army:

The petitioner was honorably discharged from active duty on July 24, 2012, with the rank of E5
(Sergeant). Despite the honorable service and the absence of any legal cause or outstanding
obligations, within three days of discharge, the legal entity was updated in the SAM.gov system

as a foreign asset on a reciprocal basis, which triggered unfair sanctions and follow-ups.

July 27, 2012 — Unlawful Designation and Misclassification as a Foreign Asset:
On July 27, 2012, the legal entity MARJA LYDIA NIEVES (Eng Legis) was illegally designated
as a foreign asset by the Department of Health and Human Services, under the reciprocal

exclusion program. This misclassification, based on information obtained from entities with
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direct access to the federal and state business systems, constituted a deliberate act to unlawfully
endorse and alter the entity's status. This misclassification fundamentally undermined the
corporation's position as a secured asset under private trust management and an instrument held
by creditors, misrepresenting its nature and purpose in commerce. It also constituted a breach of
fiduciary duty and unfairly positioned the corporation for potential unauthorized exploitation and

business activity under the guise of trading in foreign assets.

Continuous Exclusion Status and Monitoring:

Since July 27, 2012, the entity has remained under indefinite exclusion and arbitrary monitoring,
despite being domiciled within the U.S. territory of Puerto Rico. The classification has
obstructed the petitioner's fiduciary duties, impeded the proper administration of the entity's
affairs, and has been used as a means of coercive control and unjust enrichment by federal

agencies.
Current Correction and Unconditional Deletion Action:

This petition seeks to rectify the illegal classification and restore the corporation's status to
reflect its legitimate national position. The chronology of events demonstrates a clear and
deliberate pattern of fraudulent misrepresentation, breach of fiduciary duty, and infringement of

the petitioner's rights as the holder and bearer of the instrument.

INTERFERENCE AND VIOLATION OF TRADE BY AMERICAS

LEADING FINANCE LLC
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Refusal of Valid Payment and Interference with Fiduciary Duties: Americas Leading
Finance LLC refused to accept a valid form of payment presented by the Petitioner in the form of
a check with a restrictive endorsement. This refusal constitutes wrongful dishonor under UCC 3-
502 and directly interferes with the Petitioner's fiduciary responsibilities to settle obligations on
behalf of the corporation. By rejecting the endorsed instrument, Americas Leading Finance LLC
engaged in fraudulent behavior intended to obstruct the settlement of the car loan, even though

the Petitioner met all legal requirements to settle the debt.

The petitioner presented the check, endorsed as "Restrictive endorsement. Accepted for deposit.
Payable to bearer without recourse," which meets the conditions for restrictive endorsements
under UCC 3-206. The check must have been accepted for full account settlement. Instead,
Americas Leading Finance LLC engaged in retaliatory actions, including tampering with and

subsequent theft of the coal-fired yellow paper contract, which served as proof of payment.

Debt Acceleration and Illegal Recovery Attempts: The refusal to pay triggered the
acceleration clause under UCC 1-208, causing the full loan amount to become due and payable
immediately. This clause, which was implicitly invoked by the rejection of the endorsed
instrument, nullifies any other claim against the Petitioner or the legal entity MARIA LYDIA
NIEVES (MARIA FLORES) in connection with the loan. Despite the legal discharge of the debt,
Americas Leading Finance LLC continued to assert claims and engaged in illegal recovery

attempts, violating UCC 3-305 and related statutes.

Tampering with Negotiable Instruments and Theft of Evidence: After the unlawful rejection
of the check, Americas Leading Finance LLC and associated entities were implicated in the theft

of the yellow carbon paper contract from the Petitioner's residence. This contract, which served
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as proof of the executed agreement, was manipulated and stolen in an effort to undermine the
petitioner's position as a holder in due time and misrepresent the status of the debt as unpaid.
Under UCC 3-407, any manipulation or alteration of a negotiable instrument makes the
responsible parties liable for damages and voids any subsequent claims based on the altered

document.

Installation of GPS Tracker and Arbitrary Monitoring: Americas Leading Finance LLC, as
part of its enforcement tactics, authorized or facilitated the installation of a GPS tracking device
in the Petitioner's vehicle. The device, equipped with a SIM card and other surveillance
components, was discovered by the petitioner after the refusal of payment and the subsequent
theft of the contract. This arbitrary monitoring violates privacy rights and constitutes unlawful
surveillance, further complicating the Petitioner's ability to fulfill fiduciary duties without undue

interference.

Legal Remedies and Penalties: Due to the illegal acts committed by Americas Leading Finance
LLC, including refusal to accept payment, tampering with a negotiable instrument, theft, and
unauthorized surveillance, the Petitioner seeks immediate legal remedies and sanctions against
the company. This includes the discharge of any outstanding claims related to the car loan, the
application of full immunity from additional supervision, and damages for breach of fiduciary

duties.

UNCONDITIONAL ORDER APPROVING AND REMOVING THE

CLASSIFICATION OF FOREIGN ASSETS
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6. Immediate Removal and Discharging Mandate
By the authority vested under UCC Articles 3-207, 3-305 and 9-609, an unconditional
order is issued for the immediate removal of the foreign asset classification imposed on
the legal entity MARIA LYDIA NIEVES (MARIA FLORES) within the SAM.gov
registry and all associated systems. The qualification is null and void as of the date of this

mandate and the following restrictive endorsement will extinguish its enforceability:

Restrictive endorsement:

"Payment to the order of: MARIA LYDIA NIEVES, Without Appeal".

This release terminates all unauthorized classifications, charges, and penalties against the

instrument and reinstates the entity's status under the jurisdiction of [Jurisdiction: Puerto Rico].

7. Restoration of Proper Status
The legal status of MARIA LYDIA NIEVES (MARIA FLORES) will be restored to its
proper status without any further monitoring, restriction, or prejudice. Any attempt to
reimpose the classification of foreign assets or any other form of lien will be considered
unlawful and a direct violation of this order, warranting immediate sanctions against the
offending party. The classification of MARIA LYDIA NIEVES (MARIA FLORES) as a
foreign asset is permanently terminated and will not be re-entered, updated, or altered in

any way within any federal or state registry, including SAM.gov.

LEGAL BASIS FOR THE MANDATE AND THE UNCONDITIONAL

ORDER
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8. Breach of Fiduciary Duty and Holder's Rights
Misclassification as a foreign asset constitutes a breach of fiduciary duty as it directly
interferes with the petitioner's ability to fulfill fiduciary responsibilities over the
corporation. Such interference violates UCC 3-305, which protects against enforcement
actions involving fraud, illegality, or misrepresentation.

9. Violation of Trust Law Principles and Federal Statutes
The classification further violates the principles of trust law, specifically Section 76 of
the Reaffirmation (Third) of Trusts, which imposes a duty on trustees and trustees to
administer the trust or legal entity in good faith and in accordance with its terms. In
addition, the misclassification violates federal statutes such as 18 U.S.C. § 1581 (Peonage
and Involuntary Easement) and 18 U.S.C. § 1001 (Misrepresentations), as the
corporation's entry as a foreign asset was made without legal basis or authority.

10. Violation of the Civil Relief for Members of the Armed Forces Act (SCRA)
The classification of foreign assets made within three days of the petitioner's honorable
discharge from military service violates the protections guaranteed by the Civil Relief for
Members of the Armed Forces Act (SCRA). This classification obstructs the petitioner's
rights and privileges by subjecting the entity to unlawful penalties and exclusions that

would not otherwise apply.

ACCOUNTABILITY MANDATE AND RECIPROCAL SANCTIONS

11, Reciprocal Sanctions for Breach of Trust and Fraudulent Misclassification Any

agency, entity, or person responsible for the entry of the foreign asset classification will
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be subject to reciprocal sanctions, including, but not limited to, exclusion from any
federal or state activity, participation, or contract until a full investigation is conducted
and corrective action is taken. This includes, but is not limited to, OFAC, the Department
of the Treasury, and the Department of Health and Human Services. Any federal or state
agency, or any individual acting under its authority, found to have contributed to the

fraudulent classification will be subject to immediate penalties.

12. Immediate application of immunity and removal of classification
This mandate will be implemented without delay, and any opposition or non-compliance
will result in immediate legal and administrative consequences. As the lawful holder and
trustee of the instrument, the petitioner's directives must be executed as indicated,

ensuring full compliance with federal and UCC regulations.

CONCLUSION AND FINAL INSTRUCTIONS TO THE COURT

This mandate is issued without prejudice and with full authority under UCC law, the principles
of trust law, and federal statutes. The petitioner, MARIA LYDIA NIEVES, as the head and
trustee of the corporation, orders the immediate application of this injunction to remove all
illegal classifications, cancel the entry of foreign assets, and restore the legal status of MARIA

LYDIA NIEVES (MARIA FLORES).
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Exhibit B: Creditor Proclamation for Removal of Foreign Asset Classification

This proclamation is issued by MARIA LYDIA NIEVES (Eng Legis), the rightful and lawful creditor,
fiduciary, and bearer of the legal entity MARIA LYDIA NIEVES Corporation, duly recognized and
established under the governing frameworks of the Uniform Commercial Code (UCC) and applicable

federal statutes.

As the fiduciary of the trust, the Petitioner asserts all rights, authority, and obligations to the instrument
and trust estate, including but not limited to, the unconditional right to remove any misclassifications,
fraudulent endorsements, or administrative errors pertaining to the legal entity. Any unauthorized or
erroneous classification, restriction, or encumbrance imposed on the corporation shall be rescinded and

corrected immediately as per the mandate issued by the Petitioner.

This proclamation serves as an authoritative directive to remove any foreign asset classifications,
sanctions, or exclusions in compliance with the Unconditional Order filed under UCC Articles 3-305, 9-

609, and related federal statutes.

The Petitioner retains the right to impose reciprocal sanctions or pursue legal recourse against any entity
or agency attempting to interfere with, or obstruct, the lawful administration and management of the trust

and its assets.

[juste Date: __ 10 [03 [2oa¢

Maria Lydia Nieves, Creditor & Fiduciary of the Trust

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Date: 10/03/2024

Authorized Signature:

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MARIA LYDIA NIEVES

Trustee and Authorized Agent of MARIA LYDIA NIEVES (MARIA FLORES)

EVIDENCE AND EVIDENCE OF ARBITRARY MONITORING AND
TAMPERING

Annex A — GPS Tracking Device and Monitoring Equipment

The following images demonstrate the presence of an unauthorized GPS tracking device found in
the petitioner's vehicle, which is directly associated with the tampering and theft of the yellow
carbon paper contract. The GPS tracker, including its serial number and SIM card, provides
evidence of arbitrary monitoring and unlawful surveillance, corroborating the petitioner's claims

about coercive control and misclassification of foreign assets.

Figure 1: Image of the GPS tracker and associated components.
